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 1 KRISTIN K. MAYES
   Attorney General of Arizona
 2
   (Firm State Bar No. 14000)
 3 Alyse Meislik (AZ Bar 024052)
   Dylan Jones (AZ Bar No. 034185)
 4 Office of the Arizona Attorney General
 5 2005 North Central Avenue
   Phoenix, AZ 85004
 6 Phone: (602) 542-3725
 7 Fax: (602) 542-4377
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 8
   Lead Counsel for Plaintiffs
 9
10
11                      IN THE UNITED STATES DISTRICT COURT
12                           FOR THE DISTRICT OF ARIZONA
13
14     State of Arizona, ex rel. Kristin K. Mayes,      NO. CV-23-00233-TUC-CKJ
       Attorney General; et al.
15                                                      PARTIES’ JOINT RULE 26(f)
16                   Plaintiffs,                        REPORT AND PROPOSED
                                                        DISCOVERY PLAN
17     v.
18
       Michael D. Lansky, L.L.C., dba Avid
19     Telecom, et al.,
20
                     Defendants.
21
22
23
24
25
26
27
28
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 1
           Pursuant to Federal Rule of Civil Procedure 26(f), Local Civil Rules 16 and 26(f),
 21
    and this Court’s July 8, 2024 Order (Dkt #73), counsel for the parties conferred on July 25,
 32
       2024, and submit the following report of their meeting for the Court’s consideration.
 43
             All parties and their counsel are listed in the table below. The Lead Plaintiff States
 54
    in this matter are counsel for the Plaintiff States of Arizona, Indiana, North Carolina, and
 65
    Ohio. During the meet-and-confer with Defendants on July 25, 2024, and for all
 76
    appearances before the Court and exchanges with Defendants concerning this litigation,
 87
    the Lead Plaintiff States represent the position of all Plaintiff States. The names of counsel
 98
     who attended the July 25, 2024, meet-and-confer are preceded by an asterisk (*). The Lead
10 9
     Plaintiff States and Defendants met again on August 15, 2024.
1110
1211
                           Party Name                                Party Counsel
1312
             Plaintiff State of Arizona                    *Alyse Meislik
1413
                                                           *Dylan Jones
1514
             Plaintiff State of Indiana                    *Douglas S. Swetnam
1615
1716         Plaintiff State of North Carolina             *Tracy Nayer

1817                                                       *Asa C. Edwards IV

1918                                                       *Danielle Wilburn Allen

2019         Plaintiff State of Ohio                       *Erin B. Leahy

2120         Plaintiff State of Alabama                    *Lindsay D. Barton

2221                                                       Robert D. Tambling

2322         Plaintiff State of Arkansas                   *Amanda Wentz

2423         Plaintiff People of the State of              Nicklas A. Akers

2524         California                                    Bernard A. Eskandari

2625                                                       *Timothy D. Lundgren

2726                                                       *Rosailda Perez

2827                                                       Michelle Burkart
  28

                                                     1
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 1
 21                       Party Name                                    Party Counsel
 32         Plaintiff State of Colorado, ex rel.              *Michel Singer Nelson
 43         Philip J. Weiser, Attorney General                Bianca Feierstein
 54         Plaintiff State of Connecticut                    *Brendan T. Flynn
 65         Plaintiff State of Delaware                       Ryan Costa
 76         Plaintiff District of Columbia                    Adam Teitelbaum
 87         Plaintiff Ashley Moody, Attorney                  *Patrick Crotty
 98         General of the State of Florida                   Miles Vaughn
10 9        Plaintiff State of Georgia                        *David A. Zisook
1110        Plaintiff State of Hawaii                         Christopher J.I. Leong
1211        Plaintiff State of Idaho                          James J. Simeri (Pro Hac Vice
1312                                                          motion forthcoming)
1413        Plaintiff People of the State of Illinois         *Philip Heimlich
1514                                                          Elizabeth Blackston
1615        Plaintiff State of Iowa                           *Benjamin Bellus
1716                                                          William Pearson
1817
            Plaintiff State of Kansas                         *Nicholas C. Smith
1918
                                                              Sarah M. Dietz
2019
            Plaintiff Commonwealth of Kentucky                Jacob P. Ford
2120
            Plaintiff State of Louisiana                      *ZaTabia N. Williams
2221
            Plaintiff State of Maine                          Brendan O’Neil
2322
            Plaintiff Maryland Office of the                  *Philip Ziperman
2423
            Attorney General
2524
            Plaintiff Commonwealth of                         Carol Guerrero
2625
            Massachusetts
2726
2827
 28

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 1
 21                       Party Name                                Party Counsel
 32         Plaintiff People of the State of              *Kathy P. Fitzgerald
 43         Michigan                                      Michael S. Hill
 54         Plaintiff State of Minnesota, by its          *Bennett Hartz
 65         Attorney General, Keith Ellison
 76         Plaintiff Lynn Fitch, Attorney General        James M. Rankin
 87         State of Mississippi                          *Jessica D. Jasper (Pro Hac Vice
 98                                                       motion forthcoming)
10 9        Plaintiff State of Missouri, ex. rel.         Michael Schwalbert
1110        Andrew Bailey, Attorney General
1211        Plaintiff State of Montana                    Anna Schneider
1312                                                      *Andrew Butler
1413        Plaintiff State of Nebraska                   *Gary E. Brollier
1514        Plaintiff State of Nevada                     *Michelle C. Badorine
1615        Plaintiff State of New Hampshire              Mary F. Stewart
1716        Plaintiff State of New Jersey                 *Deepta Janardhan
1817                                                      Jeffrey Koziar
1918        Plaintiff Raúl Torrez, New Mexico             Julie Ann Meade
2019        Attorney General
2120
            Plaintiff Office of the Attorney General      Glenna Goldis
2221
            of the State of New York
2322
            Plaintiff State of North Dakota               Elin S. Alm
2423
                                                          *Christopher Glenn Lindblad
2524
            Plaintiff State of Oklahoma ex rel.           *Caleb J. Smith
2625
            Attorney General Gentner Drummond
2726
            Plaintiff State of Oregon                     *Jordan M. Roberts
2827
  28

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 1
 21                       Party Name                                   Party Counsel
 32         Plaintiff Commonwealth of                        Mark W Wolfe
 43         Pennsylvania by Attorney General
 54         Michelle A. Henry
 65         Plaintiff State of Rhode Island, by              Stephen N. Provazza
 76         Attorney General Peter Neronha
 87         Plaintiff State of South Carolina                *Kristin Simons
 98                                                          *Danielle Robertson
10 9        Plaintiff State of Tennessee                     Austin C. Ostiguy
1110                                                         Tyler T. Corcoran
1211        Plaintiff State of Texas                         *David Shatto
1312        Plaintiff Utah Division of Consumer              *Kevin McLean
1413        Protection
1514        Plaintiff State of Vermont                       Jill Abrams (Pro Hac Vice motion
1615                                                         forthcoming)
1716        Plaintiff Commonwealth of Virginia, ex *Geoffrey L. Ward
1817        rel. Jason S. Miyares, Attorney General
1918        Plaintiff State of Washington                    *Alexandra Kory
2019                                                         Mina Shahin
2120        Plaintiff State of West Virginia ex rel.         *Ashley T. Wentz
2221        Patrick Morrisey, Attorney General
2322
            Plaintiff State of Wisconsin                     *Gregory A. Myszkowski
2423
            Plaintiff State of Wyoming                       Benjamin M. Peterson
2524
            Defendants Michael D. Lansky, L.L.C.,            *Neil S. Ende
2625
            dba Avid Telecom, Michael D. Lansky
2726
            and Stacey Reeves
2827
  28

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 1
 21                       Party Name                                Party Counsel
 32         Defendants Michael D. Lansky, L.L.C.,         *Greg Taylor (Pro Hac Vice
 43         dba Avid Telecom, Michael D. Lansky           motion forthcoming)
 54         and Stacey Reeves
 65
             1.     Nature of the Case and Bases of Claims and Defenses
 76
             Plaintiffs filed this action against Michael D. Lansky, L.L.C., dba Avid Telecom
 87
     (Defendant Avid Telecom), Michael D. Lansky, individually and as Chief Executive
 98
   9 Officer (Defendant Lansky), 1 and Stacey Reeves, individually and as Vice President of
10
     Operations and Sales, (collectively “Defendants”) pursuant to the Telemarketing and
1110
     Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. § 6101 et
1211
     seq.; the Telemarketing Sales Rule (“TSR”), 16 C.F.R. § 310 et seq.; the Telephone
1312
     Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.; the Truth in Caller ID Act
1413
     (“TCIA”), 47 U.S.C. § 227(e); and certain state laws that protect consumers against unfair
1514
     and deceptive trade practices, including unfair, deceptive, abusive and illegal telemarketing
1615
     practices.
1716
             The Plaintiffs’ Complaint alleges that Defendants Avid Telecom, Lansky and
1817
     Reeves are in the business of providing Voice over Internet Protocol (“VoIP”) services,
1918
  19 facilitating or initiating robocalls, and/or helping others make robocalls. 2 As a VoIP
20
2120       The Alter Ego claims against Defendant Lansky were dismissed by Order of Court
         1

     [Dkt. 72] issued on July 8, 2024.
2221     2
           In addition to the generic description of its disputes below, Defendant Avid Telecom
2322 specifically objects to and disputes the allegation that the company facilitates, initiates or
     helps others make robocalls. Defendants Lansky and Reeves object to and dispute that, on
2423
     an individual basis, they are in any business, including the business of providing VoIP
  24
25 services, facilitating or initiating robocalls, and/or helping others make robocalls.
     Defendant Reeves also individually objects to and disputes this allegation because her role
2625 was solely that of an independent contractor with no ownership or control over Avid
2726 Telecom’s business or operations and thus, in her individual capacity, she is not a provider
     of VoIP services.
2827
  28

                                                    5
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 1
    provider, Avid Telecom uses broadband internet technology to route its customers’ calls
 21
    into, and throughout the U.S. telecommunications network. 3 According to Avid Telecom’s
 32
    filings with the Federal Communications Commission (“FCC”), Defendants provide VoIP
 43
    services in all U.S. states and territories. 4 As a result of the following activities, Plaintiffs
 54
    seek relief in the form of temporary and permanent injunctions, damages, restitution and
 65
    other compensation on behalf of residents of the States bringing this action, civil penalties,
 76
    attorney’s fees and costs, relief under the individual state claims, and such other legal or
 87
    equitable relief as the Court deems just and proper, including a forfeiture of the right for
 98
       Defendants to conduct business.
10 9
              Defendants believe that the allegations in the complaint are not sustainable as a
1110
     matter of fact or law and that certain of the “evidence” presented may have been obtained
1211
     through Improper and/or illegal means. Defendants reserve all rights to pursue relief on
1312
     these bases.
1413
1514
1615
1716         In addition to the generic description of its disputes below, Defendant Avid Telecom
          3

       specifically objects to and disputes Avid Telecom objects to and disputes the allegation
1817   that it uses broadband internet technology to route its customers’ calls into, and throughout
1918   the U.S. telecommunications network. Defendant Reeves also individually objects to and
       disputes this allegation because her role was solely that of an independent contractor with
2019   no ownership or control over Avid Telecom’s business or operations and thus, in her
2120   individual capacity, she does not and is not responsible for any use of broadband internet
       technology to route its customers’ calls into, and throughout the U.S. telecommunications
2221   network.
2322      4
            In addition to the generic description of its disputes below, Defendant Avid Telecom
       specifically objects to and disputes the allegation that its filings with the Federal
2423
       Communications Commission (“FCC”), are properly read to mean that Defendants provide
2524   VoIP services in all U.S. states and territories. Defendant Reeves also individually objects
       to and disputes this allegation because her role was solely that of an independent contractor
2625   with no ownership or control over Avid Telecom’s business or operations and thus, in her
2726   individual capacity, she had no responsibility for any decision by Avid Telecom allegedly
       to provide throughout the U.S. telecommunications network.
2827
  28

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 1
                                                Count I
 21
                 Violations of the Telemarketing Sales Rule, 16 C.F.R. §§310.3-310.4
 32
          The TSR prohibits abusive and deceptive acts or practices by “sellers” or
 43
    “telemarketers” and prohibits persons from providing substantial assistance or support to
 54
    any seller or telemarketer when that person knows or consciously avoids knowing that the
 65
    seller or telemarketer is engaged in any act or practice that violates the TSR. Defendants
 76
       deny that they are properly considered to be a “seller” or a “telemarketer” under the TSR.
 87
              Illegal robocalls that Defendants transmitted onto and across Avid Telecom’s
 98
     network constitute telemarketing and were created and initiated by sellers and/or
10 9
     telemarketers within the scope of the TSR. 5 Defendants violated the TSR by providing
1110
     substantial assistance or support to sellers and telemarketers that were violating the TSR
1211
     by providing services, including but not limited to retail or wholesale voice termination;
1312
     dialing software, including the use of a predictive dialer; helping customers with rotating
1413
     telephone numbers; telephone number assignment; providing leads for customers to call;
1514
     and providing expertise, whether formal or informal, directly or indirectly, to one or more
1615
     sellers and/or telemarketers engaged in telemarketing as defined by the TSR. 6
1716
1817      5
           In addition to the generic description of its disputes below, Defendant Avid Telecom
1918 specifically objects to and disputes the allegation that they “transmitted” any calls onto and
2019 across Avid Telecom’s network. Defendant Reeves also individually objects to and
     disputes this allegation because, in her limited role as an independent contractor with no
  20
21 ownership or right of control, she has any legal responsibility for any calls transmitted by
     Avid Telecom.
2221
         6
           In addition to the generic description of its disputes below, Defendant Avid Telecom
2322 specifically objects to and disputes that they provided substantial assistance or support to
2423 sellers and telemarketers that were violating the TSR by providing services, including but
     not limited to retail or wholesale voice termination; dialing software, including the use of
2524 a predictive dialer; helping customers with rotating telephone numbers; telephone number
2625 assignment; providing leads for customers to call; and providing expertise, whether formal
     or informal, directly or indirectly, to one or more sellers and/or telemarketers engaged in
2726 telemarketing as defined by the TSR. Defendants further deny, as a matter of fact, that
2827 they provided dialing software, including the use of a predictive dialer; helping customers
  28

                                                    7
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 1
                                               Count II
 21
         Failure to Exercise Due Diligence/Know Your Customer in Violation of the TCPA,
 32
                            47 U.S.C. § 227 and 47 C.F.R. § 64.1200(n)(3)
 43
             To target and eliminate unlawful robocalls, the FCC requires all originating voice
 54
   5 service providers (“VSPs”) 7 to know their customers and exercise due diligence in ensuring
 6
    that their services are not used to originate illegal traffic and further recommends that VSPs
 76
    exercise caution in granting access to high-volume origination services to ensure that bad
 87
     actors do not abuse such services. 8 Pursuant to the TCPA, the FCC has authorized and
 98
   9 encouraged VSPs to block calls in certain circumstances. 9 VSPs may block calls so that
10
1110 with rotating telephone numbers; telephone number assignment; providing leads for
1211 customers to call; and providing expertise, whether formal or informal, directly or
     indirectly, to one or more sellers and/or telemarketers engaged in telemarketing as defined
1312 by the TSR. Defendant Reeves also individually objects to and disputes this allegation
1413 because, in her limited role as an independent contractor with no ownership or right of
     control, she has any legal responsibility for any of the alleged acts.
1514    7
          An “originating” VSP is the first VSP in the call flow from the calling party’s side of
  15
16 the call. In addition to the generic description of its disputes below, Defendant Avid
     Telecom specifically objects to and disputes this definition as materially incorrect and
1716 misleading to the extent that it is meant to suggest that Avid Telecom is the originator of
1817 the call or that it has any relationship with the underlying customer.
1918       In addition to the generic description of its disputes below, Defendant Avid Telecom
         8

     specifically objects to and disputes this allegation to the extent that the Know Your
2019 Customer rules are being retroactively, prior to the effective date of the FCC rule.
2120 Defendant Reeves also individually objects to and disputes this allegation because, in her
     limited role as an independent contractor with no ownership or right of control, she has any
  21
22 legal responsibility for Avid telecom’s decisions regarding the application of the Know
2322 Your Customer Rules.
         9
           In addition to the generic description of its disputes below, Defendant Avid Telecom
2423
     specifically objects to and disputes this allegation to the extent that it suggests that Avid
  24
25 Telecom had the right to block all calls, including the right to block calls, prior to the
     effective date of the FCC rule allowing call blocking. Defendant Reeves also individually
2625 objects to and disputes this allegation because, in her limited role as an independent
2726 contractor with no ownership or right of control, she has any legal responsibility for Avid
     Telecom’s decision whether to block calls.
2827
  28

                                                   8
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 1
    they do not reach a called party when the calls originate from invalid numbers, unallocated
 21
    numbers, unused numbers and numbers associated with inbound-only services, that is, the
 32
    entity to whom the number is assigned does not use it for outbound calling. 10 The TCPA
 43
    also requires VSPs to take affirmative, effective measures to prevent new and renewing
 54
    customers from using their networks to originate illegal calls, including knowing their
 65
    customers and exercising due diligence in ensuring that their services are not used to
 76
       originate illegal traffic. 11
 87
                 Here, Defendants violated the TCPA by not choosing to regularly, if at all, block
 98
   9 calls made from telephone numbers that the FCC gave permission to block. 12 Defendants
10
     also failed to take affirmative, effective measures to prevent new and renewing customers
1110
     from using their network to originate illegal calls, including knowing their customers and
1211
     exercising due diligence in ensuring that their services are not used to originate illegal
1312
  13 traffic. 13
14
1514       10
                See previous footnote.
1615        In addition to the generic description of its disputes below, Defendant Avid Telecom
           11
  16
17 specifically objects to and disputes the allegation that the TCPA contains any language that
     prevents “new and renewing customers from using their networks to originate illegal calls”.
1817 Defendant Reeves also individually objects to and disputes this allegation because, in her
1918 limited role as an independent contractor with no ownership or right of control, she has any
     legal responsibility for Avid Telecom’s decisions regarding the application of the TCPA
2019 and Know Your Customer Rules.
2120     12
            In addition to the generic description of its disputes below, Defendant Avid Telecom
     specifically objects to, and disputes Defendants deny that Avid Telecom chose not to
2221
     “regularly, if at all” block calls made from telephone numbers that the FCC gave
2322 permission to block. Among other things, as the Plaintiffs are aware, Avid Telecom
     blocked in excess of 2.3 calls in 2023 alone. Defendant Reeves also individually objects
2423
     to and disputes this allegation because, in her limited role as an independent contractor
  24
25 with no ownership or right of control, she has any legal responsibility for Avid Telecom’s
     decisions call blocking.
2625
  26
         13
            In addition to the generic description of its disputes below, Defendant Avid Telecom
27 specifically objects to and disputes that they failed to take affirmative, effective measures
2827 to prevent new and renewing customers from using their network to originate illegal calls,
  28

                                                       9
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 1
                                               Count III
 21
          Robocalls to Cellular and Residential Telephone Lines in Violation of the TCPA,
 32
                             47 U.S.C. §§ 227(b)(1)(A)(iii) and (b)(1)(B)
 43
             Congress enacted the TCPA because it determined that unwanted prerecorded voice
 54
    messages were a greater nuisance and invasion of privacy than live calls and that unwanted
 65
    calls delivered to cellular phones could be costly. The TCPA thus prohibits any person
 76
    from making calls using an automatic telephone dialing system or an artificial or
 87
    prerecorded voice to any cellular telephone with a U.S.-based telephone number, with
 98
     exceptions for emergency calls or those made with the prior express consent of the called
10 9
     party. The TCPA also prohibits any person from initiating any telephone call to any
1110
     residential telephone line with a U.S. number using an artificial or prerecorded voice to
1211
     deliver a message without the prior express consent of the called party, unless it is an
1312
  13 emergency call or subject to other exemptions. 14
14
           In this matter, Defendants violated the TCPA by engaging in a pattern or practice
1514
     of initiating telephone calls to residential and cellular telephone lines using artificial or
1615
1716
     including knowing their customers and exercising due diligence in ensuring that their
1817 services are not used to originate illegal traffic. Defendant Avid Telecom operated under
1918 a fully compliant Know Your Customer plan on file with the Federal Communications
     commission and it acted aggressively, including rejecting large numbers of customer
2019 prospects and terminating other customers who delivered suspicious traffic, to ensure that
2120 its services were only used for lawful purposes. Defendant Reeves also individually objects
     to and disputes this allegation because, in her limited role as an independent contractor
  21
22 with no ownership or right of control, she has any legal responsibility for Avid Telecom’s
2322 decisions regarding the prevention of new and renewing customers from using their
     network to originate illegal calls.
2423      14
             In addition to the generic description of its disputes below, Defendant Avid Telecom
  24
25 specifically objects to and disputes the allegation that they made, initiated or caused the
     initiation any telephone call in violation of the TCPA. Defendant Reeves also individually
2625 objects to and disputes this allegation because, in her limited role as an independent
2726 contractor with no ownership or right of control, she has any legal responsibility for Avid
     Telecom’s decisions regarding the application of the TCPA.
2827
  28

                                                  10
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 1
    prerecorded voices to deliver messages without the prior express consent of the called
 21
    parties. The Defendants also wrongfully engaged in a pattern or practice of initiating or
 32
    causing the initiation of telephone calls that included or introduced advertisements or
 43
    constituted telemarketing to cellular telephone lines using artificial or prerecorded voices
 54
    to deliver messages without the prior express written consent of the called parties.
 65
    Defendants’ wrongful conduct harmed consumers in each of the Plaintiffs’ jurisdictions.
 76
    The calls would not have connected but for Defendants’ decision to allow them to transit
 87
    their network despite having knowledge that many of the calls were delivering prerecorded
 98
     or artificially voiced messages. Defendants knew or consciously avoided knowing that
10 9
     many of the calls violated the TCPA. 15
1110
                                          Count IV
1211
     Calls to Telephone Numbers on the National Do Not Call (“DNC”) Registry in Violation
1312
                    of the TCPA, 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c)(2)
1413
               The TCPA recognized that there is a need to protect residential telephone
1514
     subscribers’ privacy rights to avoid receiving telephone solicitations to which they object.
1615
     In order to meet this directive, a single national database of telephone numbers was
1716
     compiled of residential subscribers who objected to receiving telephone solicitations.
1817
     Under the TCPA, all persons or entities are prohibited from initiating any telephone
1918
2019      15
              In addition to the generic description of its disputes below, Defendant Avid Telecom
2120   specifically objects to and disputes the allegation that they allowed any third party to transit
       their network despite having knowledge that many of the calls were delivering prerecorded
2221
       or artificially voiced messages. Defendants also object to and dispute this allegation to the
2322   extent that it implies that every call containing a pre-recorded message is illegal. Thus, to
       the extent that the complaint does not even attempt to identify which of the referenced calls
2423
       were subject to the recipient’s prior consent, the complaint does not establish that Avid
2524   Telecom ever transited illegal robocalls and it certainly does not establish that Defendants
       “knew or consciously avoided knowing” that any of the calls violated the TCPA. Defendant
2625   Reeves also individually objects to and disputes this allegation because, in her limited role
2726   as an independent contractor with no ownership or right of control, she has any legal
       responsibility for Avid Telecom’s decisions regarding the application of the TCPA.
2827
  28

                                                     11
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 1
    solicitation to a residential telephone subscriber who has registered their telephone number
 21
    on the National DNC Registry, which registrations must be honored indefinitely, or until
 32
       the registration is cancelled by the subscriber.
 43
                Defendants violated the TCPA by engaging in a pattern or practice of initiating
 54
    telephone solicitations to residential subscribers in the Plaintiffs’ jurisdictions who have
 65
    registered their telephone numbers on the National DNC Registry. Defendants knew or
 76
    consciously avoided knowing that it transmitted calls to residential subscribers on the
 87
    National DNC Registry. 16
 98
                                                 Count V
10 9
                        Violations of the Truth in Caller ID Act, 47 U.S.C. § 227(e)
1110
           Section (e) of 47 U.S.C. § 227 known as the Truth in Caller ID Act prohibits any
1211
     person with the intent to defraud, cause harm or otherwise obtain anything of value from
1312
     knowingly causing, directly or indirectly, any caller identification service to transmit
1413
     misleading or inaccurate caller identification information in connection with any voice or
1514
     text messaging service.
1615
            Defendants violated the Truth in Caller ID Act by knowingly causing the caller
1716
  17 identification services of the recipients of their call traffic with spoofed 17 phone numbers
18
1918     16
            In addition to the generic description of its disputes below, Defendant Avid Telecom
2019 specifically objects to and disputes the allegation that they initiated an telephone calls, let
     alone that they initiated telephone solicitations to residential subscribers in the Plaintiffs’
  20
21 jurisdictions who have registered their telephone numbers on the National DNC Registry
     or that they knew or consciously avoided knowing that they transmitted calls to residential
2221
     subscribers on the National DNC Registry. In addition, Avid Telecom will establish that
2322 many of the telephone numbers on the DNC Registry—which is limited to residential
     numbers—are actually owned or controlled by business entities who work with the
2423
     Industry Traceback Group. Calls to those numbers do not violate DNC regulations.
  24
25 Defendant Reeves also individually objects to and disputes this allegation because, in her
     limited role as an independent contractor with no ownership or right of control, she has any
2625 legal responsibility for Avid Telecom’s decisions regarding the compliance with the
2726 requirements of the DNC Registry.
2827           The practice of “spoofing” is used deceptively by scammers to manipulate the caller
          17


  28

                                                    12
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 1
   1 to transmit misleading or inaccurate caller identification information. 18 Defendants knew
 2
    or consciously avoided knowing that they accepted and profited from illegal robocalls with
 32
    misleading or inaccurate spoofed phone numbers, which sought to defraud, cause harm, or
 43
       wrongfully obtain things of value from the call recipients. 19
 54
                                           Counts VI – XXIII
 65
         State Claims alleging unfair and deceptive trade practices, including unfair, deceptive,
 76
                               abusive and illegal telemarketing practices.
 87
              See Exhibit A: Plaintiffs’ List of Counts and Elements of Proof.
 98
              2.     Elements of Proof
10 9
              See Exhibit A: Plaintiffs’ List of Counts and Elements of Proof.
1110
              See Exhibit B: Defendants’ Elements of Proof for Affirmative Defenses.
1211
              3.     Facts and Legal Issues in Dispute
1312
              As a threshold matter, Plaintiffs note that their best reading of Defendants’ Answer
1413
     to the Complaint indicates two types of “disputes.” The first type concerns claims that the
1514
     Defendants are not able to admit or deny certain averments because certain terms or phrases
1615
     have not been defined with enough specificity.
1716
           The second type consists of genuine disputes as to fact and/or law. The parties are
1817
     of the position that all averments of fact and law, unless admitted to in the Answer, remain
1918
     in dispute. Although the parties are not in complete agreement regarding relevance and
2019
2120
2221 identification system so that it appears that their calls are from legitimate phone numbers.
2322
         18
            In addition to the generic description of its disputes below, Defendants objects to and
     disputes the allegation that they knowingly caused or consciously avoided knowing the
2423 caller identification services of the recipients of their call traffic with spoofed phone
     numbers to transmit misleading or inaccurate caller identification information. Defendant
2524
     Reeves also individually objects to and disputes this allegation because, in her limited role
  25
26 as an independent contractor with no ownership or right of control, she has any legal
     responsibility for Avid Telecom’s decisions regarding the application of the FCC’s
2726
     spoofing rules.
2827     19
            See footnote 18.
  28

                                                    13
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 1
    materiality on all matters, these disputes have been set forth in general terms below. Where
 21
    necessary, Plaintiffs’ and Defendants’ respective positions have been set out separately.
 32
    To this point, the parties have been unable to narrow the following disputes by stipulation
 43
    or motion.
 54
           Defendants object to and dispute Plaintiffs’ characterization of Defendants’
 65
    disputes. The language of the Answer, as supplemented herein, speaks for itself.
 76
                                    Disputes of Fact and/or Law
 87
                   A.     The nature of the trade or commerce in which Defendants engaged,
 98
             including:
10 9
                          i.     The products and/or services which Defendants provided
1110
                          and/or advertised to their customers and the extent to which
1211
                          Defendants were involved or provided assistance to their customers
1312
                          in the use of such products and/or services; and
1413
                          ii.    Whether Defendants engaged in trade or commerce in each
1514
                          Plaintiff’s respective jurisdictions at all relevant times.
1615
                   B.     Disputes concerning the individual liability of Defendants Lansky
1716
             and/or Reeves, including:
1817
                          i.     The scope of Defendant Lansky’s authority over and
1918
                          participation in the acts or practices of Avid Telecom alleged in the
2019
                          Complaint.
2120
                          ii.    The scope of Defendant Reeves’ authority over and
2221
                          participation in the acts or practices of Avid Telecom alleged in the
2322
                          Complaint.
2423
                          iii.   The existence and scope of Defendant Reeves’ authority over
2524
                          the acts or practices of Avid Telecom alleged in the Complaint.
2625
                          iv.    Whether Defendant Reeves was an employee or independent
2726
                          contractor of Defendant Avid Telecom.
2827
  28

                                                  14
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 1
                              v.     Whether Defendant Reeves was an agent of Defendant Avid
 21
                              Telecom. 20
 32
                              vi.    Whether an independent contractor can be held liable for the
 43
                              acts of the principal party.
 54
                              vii.   Whether an independent contractor can be held liable under the
 65
                              TCPA for the acts of the principal party.
 76
                      C.      Whether the Defendants knew or were consciously avoiding knowing
 87
               that they were providing substantial assistance or support to sellers or telemarketers
 98
               that were engaged in telemarketing while Defendants knew or were consciously
10 9
               avoiding knowing that the seller or telemarketer was engaged in acts or practices
1110
               that violated TSR sections 310.3(a), (c) or (d), or 310.4.
1211
                      D.      Whether the Defendants complied with their obligation under
1312
               47 C.F.R. § 64.1200(n)(3) to take affirmative, effective measures to prevent new
1413
               and renewing customers from using the network to originate illegal calls, including
1514
               knowing its customers and exercising due diligence in ensuring that its services are
1615
               not used to originate illegal traffic.
1716
                      E.      Whether the Federal Communications Commission has determined
1817
               that Avid Telecom ever transited illegal calls. 21
1918
                      F.      Whether the Federal Communications Commission delegated the
2019
               authority to determine a call’s legality to the Industry Traceback Group. 22
2120
2221
2322       Defendants dispute that the issue of Ms. Reeves status as an “agent” of Avid
          20

     Telecom—as opposed to an employee or independent contractor—is before the Court as it
2423 was not pled as such by Plaintiffs in the complaint.
2524    21
           Plaintiffs did not object to the inclusion of this dispute but do not believe that an FCC
     determination that Avid Telecom ever transited illegal calls is necessary to the ultimate
2625 determination of liability in this action.
2726     22
            Plaintiffs did not object to the inclusion of this dispute but do not believe that whether
2827 or not the FCC delegated authority to the Industry Traceback Group to determine a call’s
  28

                                                        15
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 1
                    G.      Whether the issuance of a traceback by the Industry Traceback Group
 21
             constitutes evidence that the subject call is illegal.
 32
                    H.      Whether the content of the traceback notices and related
 43
             communications sent by the Industry Traceback Group constitute sufficient
 54
             evidence to provide knowledge of the transmission of illegal robocalls. 23
 65
                    I.      Whether complaints, notices, and related communications about call
 76
             traffic from sources other than the Industry Traceback Group constitute sufficient
 87
             evidence to provide knowledge of the transmission of illegal robocalls. 24
 98
                    J.      Whether the FCC lawfully delegated authority to the Industry
10 9
             Traceback Group—which is comprised of companies that compete directly with
1110
             Avid Telecom—as the neutral third party. If not, whether the Industry Traceback
1211
             Group’s issuance of tracebacks to Avid Telecom and other actions are invalid or
1312
             unlawful. 25
1413
1514
1615
1716 legality is necessary to the ultimate determination of liability in this action.
1817     23
            It is Defendants’ position that the issuance of a traceback is nothing more than a
     request to determine the end-to-end call path, and it is not a finding that a call was illegal.
1918 Thus, Defendants do not believe that the content of traceback notices and related
2019 communications sent by the Industry Traceback Group constitute sufficient evidence to
     provide knowledge of the transmission of illegal robocalls.
2120     24
             It is Defendants’ position that all such complaints, notices, and related
  21
22 communications came after the call was transited—thus making it impossible for
2322 Defendants to know or prevent that call in real time. Thus, Defendants do not believe that
     complaints, notices, and related communications about call traffic from sources other than
2423 the Industry Traceback Group constitute sufficient evidence to provide knowledge of the
     transmission of illegal robocalls.
2524
  25
         25
            Plaintiffs did not object to the inclusion of this dispute but because Plaintiffs’
26 Complaint does not solely rely on tracebacks from the Industry Traceback Group to
2726 establish Defendants’ violative conduct, Plaintiffs do not believe this dispute to be
     determinative of liability in this action.
2827
  28

                                                    16
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 1
                    K.      Whether the Industry Traceback Group issued tracebacks in a lawful
 21
             and non-discriminatory manner. 26
 32
                    L.      Whether the TCPA sets forth a standard for the number of tracebacks
 43
             that are sufficient to put a carrier on notice that it is transiting illegal robocalls and,
 54
             if so, the precise number of tracebacks required to establish that knowledge. 27
 65
                    M.      Whether the TCPA sets forth a percentage of a carrier’s total calls that
 76
             that are associated with a traceback that is sufficient to put a carrier on notice that it
 87
             is transiting illegal calls and, if so, the precise percentage of calls required to
 98
             establish that knowledge. 28
10 9
                    N.      Whether the FCC has implemented a regulation(s) that set(s) forth a
1110
             standard for the number of tracebacks that are sufficient to put a carrier on notice
1211
             that it is transiting illegal robocalls and, if so, the precise number of tracebacks
1312
             required to establish that knowledge. 29
1413
                    O.      Whether the FCC has implemented a regulation that sets forth a
1514
             percentage of a carrier’s total calls that that are associated with a traceback that is
1615
1716     26
             Plaintiffs did not object to the inclusion of this dispute but because Plaintiffs’
     Complaint does not solely rely on tracebacks from the Industry Traceback Group to
1817
     establish Defendants’ violative conduct, Plaintiffs do not believe this dispute to be
  18
19 determinative of liability in this action.
2019         Plaintiffs do not dispute that the TCPA does not set forth a precise number of
         27

     tracebacks required to establish knowledge that a provider is transiting illegal robocalls but
2120 Plaintiffs do not believe Defendants’ characterization of this dispute to be determinative of
2221 liability in this action.
2322
         28
            Plaintiffs do not dispute that the TCPA does not set forth a specific percentage of
     calls associated with tracebacks that would be sufficient to establish knowledge that a
2423 provider is transiting illegal robocalls. but Plaintiffs do not believe Defendants’
     characterization of this dispute to be determinative of liability in this action.
2524
  25
         29
            Plaintiffs do not dispute that the FCC Regs do not set forth a precise number of
26 tracebacks required to establish knowledge that a provider is transiting illegal robocalls but
2726 Plaintiffs do not believe Defendants’ characterization of this dispute to be determinative of
     liability in this action.
2827
  28

                                                     17
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 1
             sufficient to put a carrier on notice that it is transiting illegal calls and, if so, the
 21
             precise percentage of calls required to establish that knowledge. 30
 32
                    P.       Whether Avid Telecom provided transmission facilities for the
 43
             carriage of interstate traffic.
 54
                    Q.       Whether Avid Telecom’s transmission facilities carried illegal traffic.
 65
                    R.       Whether Avid Telecom initiated any of the calls alleged to be illegal.
 76
                    S.       Whether any evidence presented by the Plaintiffs was obtained
 87
             through illegal means, including but not limited to:
 98
                             i.   illegal recording of voice calls without proper consent;
10 9
                            ii.   improper association of business telephone numbers with the Do
1110
                                  Not Call list;
1211
                           iii.   improper or illegal scraping of consumer voice mail data; and/or
1312
                           iv.    issuance of subpoenas prior to or following the filing of the
1413
                                  complaint without notice to Defendants.
1514
                    T.       Whether evidence referenced in the Complaint was obtained through
1615
             means that were or are illegal or improper in one or more states that would
1716
             necessitate the preclusion of any use of that evidence.
1817
                    U.       Whether one or more of the Plaintiffs who participated in the filing of
1918
             the Complaint against Defendants knew or should have known that evidence
2019
             referenced in that Complaint may have been gathered illegally and/or in violation
2120
             of the Federal Rules of Civil Procedure.
2221
                    V.       Whether evidence that was obtained through illegal means is
2322
             admissible.
2423
2524
2625     30
            Plaintiffs do not dispute that the FCC Regs do not set forth a specific percentage of
  26
27 calls traced back that would be sufficient to establish knowledge that a provider is transiting
     illegal robocalls. but Plaintiffs do not believe Defendants’ characterization of this dispute
2827 to be determinative of liability in this action.
  28

                                                    18
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 1
                       W.      Whether any rules, regulations and/or laws governing the
 21
               transmission of calls are being applied in a retroactive, ex post facto, manner.
 32
                       X.      Whether Defendants had knowledge of the illegal use of their
 43
               transmission facilities and failed to take steps to prevent that illegal use within the
 54
               scope of In the Matter of Rules & Reguls. Implementing the Tel. Consumer Prot.
 65
               Act of 1991, 7 F.C.C. Rcd. 8752, ¶54 (1992).
 76
                       Y.      Whether the Tel. Consumer Prot. Act of 1991, 7 F.C.C. Rcd. 8752,
 87
               ¶54 (1992), applies to the conduct of Defendant Lansky in his individual capacity.
 98
                       Z.      Whether the Tel. Consumer Prot. Act of 1991, 7 F.C.C. Rcd. 8752,
10 9
               ¶54 (1992), applies to the conduct of Defendant Reeves in her individual capacity.
1110
                       AA.     Whether Defendants were sufficiently involved in making or
1211
               initiating illegal calls within the scope of Rules & Regs. Implementing the Tel.
1312
               Consumer Prot. Act of 1991, 30 FCC Red. 7961, 7890 (2015).
1413
                       BB.     Whether the Attorneys General of the Plaintiffs have the authority to
1514
               participate in the Complaint under applicable state and federal laws and/or
1615
               regulations.
1716
                       CC.     Whether Defendant Lansky is individually liable for the conduct
1817
               alleged in the Complaint.
1918
                       DD.     Whether Defendant Reeves is individually liable for the conduct
2019
               alleged in the Complaint.
2120
                       EE.     Whether each of the statutory and/or regulatory provisions, both
2221
               Federal and State, as set forth in Counts I through XXIII in the Complaint are
2322
               applicable to each Defendant.
2423
                       FF.     Whether Avid Telecom has telecommunications facilities in any
2524
               Plaintiff state. 31
2625
2726       Plaintiffs did not object to the inclusion of this dispute but do not believe that a
          31

2827 physical location of telecommunications facilities in any Plaintiff State is necessary to the
  28

                                                     19
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 1
                       GG.    Whether any call has been terminated by Avid Telecom in any
 21
             Plaintiff state. 32
 32
                       HH.    Whether, pursuant to the Defendants’ alleged legal violations,
 43
             Plaintiffs are entitled to the relief set forth in the Prayer for Relief in the Complaint.
 54
                       II.    Whether there is the absence of any factual or legal basis for the
 65
             allegation(s) in the Complaint and relief sought in the Complaint’s Prayer for Relief
 76
             to warrant the reimbursement of Defendants’ attorneys’ fees and costs and/or other
 87
             relief.
 98
           4.     This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.
10 9
     §§ 1331, 1337(a), 1355, and has pendent jurisdiction over the state law claims pursuant to
1110
     28 U.S.C. § 1367. The Arizona District Court is the appropriate venue.
1211
           5.     All parties have been served and have filed an answer.
1312
             6.        All named parties are subject to the Court’s jurisdiction.
1413
             7.        Plaintiffs and Defendants anticipate bringing one or more motions on issues
1514
     that may be resolved in whole or in part pre-trial. The parties intend to bring summary
1615
     judgment motions on claims which can be disposed of prior to trial.
1716
            8.     The parties do not consent to assignment of the case to a Magistrate Judge.
1817
     Further, the case is not suitable for reference to arbitration or to a special master.
1918
             9.     There are no pending related cases in this Court that allege any claims similar
2019
     to this matter. However, on December 14, 2022, Defendants Lansky and Avid Telecom
2120
     filed a complaint in this Court against a third-party alleging claims that included
2221
     defamation as to Defendant Avid Telecom and false light invasion of privacy as to
2322
2423
2524
     ultimate determination of liability in this action.
2625
         32
             Plaintiffs did not object to the inclusion of this dispute but because Plaintiffs’
  26
27 Complaint does not allege that Defendant Avid Telecom acted as the terminating provider
     (i.e., the call recipient’s telecom provider) for any of the alleged violative calls, Plaintiffs
2827 do not believe this dispute to be determinative of liability in this action.
  28

                                                     20
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 1
    Defendant Lansky. See Avid Telecom LLC, et al. v. Frankel, et al., No. 4:22-cv-00558 (D.
 21
    Ariz. 2022).
 32
          Plaintiffs’ Position: Defendants Lansky and Avid Telecom—both plaintiffs in that
 43
    proceeding—requested that the matter be voluntarily dismissed. On January 12, 2024, the
 54
    Clerk entered an order dismissing the matter with prejudice. Plaintiffs bring this closed
 65
    matter to the Court’s attention as certain pleadings, evidence or fact witnesses may be
 76
       relevant in this action.
 87
              Defendants’ Position: Due to the crippling economic effects of the public filing of
 98
     the instant Complaint, which has forced Avid Telecom out of business, Defendants Lansky
10 9
     and Avid Telecom—both plaintiffs in that proceeding—lacked the financial resources to
1110
     pursue that litigation and, thus, requested that the matter be voluntarily dismissed, which
1211
     was effectuated on January 12, 2024. By that point, Lansky and Avid Telecom successfully
1312
     defeated two separate motions to dismiss, and the case was proceeding to trial. Defendants
1413
     bring this closed matter to the Court’s attention because certain pleadings, evidence or fact
1514
     witnesses from that litigation may be relevant to this action – specifically, evidence and
1615
     facts regarding the illegal procurement of certain “evidence” used by the Plaintiffs in this
1716
     case.
1817
           10.       The parties will exchange their initial Fed. R. Civ. P. 26(a)(1) disclosures and
1918
     file the Notice of Initial Disclosure by September 13, 2024.
2019
             11.    The parties discussed changes to the limitations on discovery imposed by
2120
     Fed. R. Civ. P. 26(b)(2) and were not able to reach an agreement. Plaintiffs suggest the
2221
     changes as set out in Item 12 below.
2322
              12.    Scope of Discovery
2423
              Any discovery requests must be proportional to the needs of the case as required by
2524
     Fed. R. Civ. P. 26(b)(1). The parties agree to cooperate in good faith during discovery, in
2625
     the exchange of reports, and the scheduling of necessary depositions.
2726
2827
  28

                                                    21
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 1
           The parties agree that discovery and court filings will be served on any other party
 21
    via electronic mail to counsel. Except for materials, documents, and information as to
 32
    which electronic transmission is impracticable, the parties may respond to any discovery
 43
    request via electronic mail to counsel.
 54
          The parties do not believe formal phasing of discovery is required in this case and
 65
    will work together cooperatively to focus discovery on the key issues identified in the
 76
      Complaint and Answer.
 87
             Plaintiffs’ Position: Discovery topics shall include seeking party, non-party, and
 98
     expert discovery on all subjects alleged in the Complaint, as well as any defenses and
10 9
     counterclaims. Although the Complaint involves many Plaintiffs, the relevant evidence to
1110
     prove the federal claims, Counts I through V, will be largely the same evidence from the
1211
     same sources for all Plaintiffs. This same evidence to prove the federal claims will similarly
1312
     be largely relied upon to establish the elements of most state claims alleged. Additionally,
1413
     the investigative, pre-litigation work and resources in this matter was conducted by a small
1514
     group of the Plaintiff States for the benefit of all Plaintiffs. Moreover, the evidence that
1615
     has been analyzed to date, and that will be requested and analyzed during discovery, to
1716
     establish liability and harm to Plaintiffs will be conducted by a limited number of shared
1817
     expert witnesses who will conduct analyses of the same set of data and evidence to
1918
     determine violations for all Plaintiffs.
2019
           Defendants’ Position: Discovery topics shall include seeking party, non-party, and
2120
     expert discovery on all subjects alleged in the Complaint, as well as any defenses and
2221
     counterclaims. As all Plaintiffs are party to the federal law claims, Defendant shall have
2322
     the right to propound discovery on all Plaintiffs, not just those in lead group or those
2423
     Plaintiffs which offered specific state law claims. Notwithstanding any common or similar
2524
     claims made by the Plaintiffs, any limits on the scope of discovery (e.g., the number of
2625
     interrogatories or document requests) shall be applied on a party-by-party basis such that
2726
     Defendants shall each be entitled to propound separate discovery to the permitted limit on
2827
  28 each Plaintiff.

                                                   22
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 1
          Limitations on Discovery: The parties discussed modifications to the limitations on
 21
    discovery set forth in the Federal Rules of Civil Procedure and were unable to reach an
 32
       agreement.
 43
             Plaintiffs’ Position: Due to the fact that the relevant evidence to prove Plaintiffs
 54
    federal claims and many state claims is largely the same, the Plaintiff’s propose the
 65
    following modifications:
 76
             Interrogatories limitations are modified to 50 per side.
 87
             Requests for admission are modified to 50 per side.
 98
            The parties may seek additional discovery limitations or extensions through later
10 9
     stipulation of the parties or motion to the Court as necessary.
1110
             Depositions: The parties discussed but could not reach an agreement as to the
1211
     limitation on the number of depositions.
1312
             The Plaintiffs propose the following modifications: 50 depositions per side.
1413
                    The parties agree that depositions are not to extend beyond seven (7) hours
1514
                    in one day, unless by agreement of the parties.
1615
             Defendants’ Position: The issue of proportionality must be considered in light of
1716
     the specific circumstances of his case. Defendants are two individuals and a sole
1817
     proprietorship, representing only two-party fact witnesses. Defendants are required to rebut
1918
     allegations brought by forty-nine (49) Attorneys General, and specific allegations and
2019
     claims by eleven (11) States. Each of those States will presumably have one or more
2120
     witness(es) to support their factual allegations. The Complaint also reference(s) dozens of
2221
     other persons and organizations with alleged knowledge, from whom Plaintiffs have
2322
     apparently gathered facts and documents. These include various Attorneys General,
2423
     numerous persons who worked (both directly and indirectly) for the (USTelecom) Industry
2524
     Traceback Group, and numerous persons who work for the various other carriers that are
2625
     referenced in the Complaint and/or in the related litigation styled Avid Telecom LLC, et al.
2726
     v. Frankel, et al., No. 4:22-cv-00558 (D. Ariz. 2022). On information and belief, Plaintiffs
2827
  28 also received data from other third parties, some of which have not been disclosed.

                                                   23
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 1
    Fairness dictates that, due to the number of Plaintiffs and the number of persons from whom
 21
    the Plaintiffs have obtained “evidence,” Defendants will likely need to take many more
 32
    depositions than Plaintiffs just to obtain the information that the Plaintiffs already have,
 43
    and that is necessary to understand the existence or absence of any factual basis for the
 54
    Plaintiffs’ claims. The same is true for other categories of discovery (e.g., interrogatories
 65
    and document requests).
 76
          The Plaintiffs elected to make this a nationwide lawsuit, brought by forty-nine (49)
 87
    Attorneys General. They did so to maximize the public scale of the Complaint, its crushing
 98
     economic impact, and the difficulty to Defendants in mounting a comprehensive defense.
10 9
     In this context, “proportionality” requires that the number of depositions be calculated “per
1110
     party” and not “per side.” Limiting the three humble Defendants to the number of
1211
     depositions sought by the forty-nine Plaintiffs would be fundamentally unfair and
1312
     materially prejudicial.
1413
                   Interrogatories limitations are modified to 50 per party.
1514
                    Requests for admission are modified to 50 per party.
1615
                    Document Requests: No present limit. Any limit calculated on a per party
1716
                    basis.
1817
             The parties may seek additional discovery limitations or extensions through later
1918
     stipulation of the parties or motion to the Court as necessary.
2019
                    Depositions: The parties discussed but could not reach an agreement as to
2120
                    the limitation on the number of depositions.
2221
                    Plaintiff proposal for fifty (50) depositions per side would mean that
2322
                    Defendants would only get one deposition per Plaintiff, while Plaintiffs
2423
                    would get more than sixteen depositions per Defendant. That imbalance is
2524
                    facially unfair. It is also prejudicial, as Defendants plainly need to take
2625
                    multiple depositions of at least the eleven State Plaintiffs asserting specific
2726
                    claims. To address this imbalance and to ensure that Defendants are treated
2827
  28                fairly and have the opportunity for full and complete discovery, the

                                                   24
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 1
                   Defendants propose the following modifications:
 21
                          Plaintiffs:   A total of thirty (30) depositions (i.e., one for each
 32
                          Defendant, plus 27 more).
 43
                          Defendants: A total of seventy-five (75) depositions (i.e., one for each
 54
                          Plaintiff, plus 25 more).
 65
             The parties agree that depositions are not to extend beyond seven (7) hours in any
 76
    one day but may exceed one day either by agreement of the parties or order of the Court.
 87
    Given the extraordinary scale of the “evidence” referenced in the Complaint that Plaintiffs
 98
     have secured over years of investigation, Defendants expect they will require more than
10 9
     seven (7) hours in one day for many of their depositions.
1110
           13.    The parties intend to request the production of electronically stored
1211
     information (ESI). The parties will identify the method and form of production for any
1312
     electronically stored information in connection with their individual discovery requests as
1413
     set forth in Fed. R. Civ. P. 33 and 34. The parties shall meet and confer regarding any
1514
     specific ESI needs and disputes before seeking involvement of the Court and will submit
1615
     an ESI plan to the Court’s for review and approval on or before September 13, 2024.
1716
           14.    The parties shall submit a proposed protective order setting forth procedures
1817
     governing assertions of privilege or other applicable protection from disclosure for the
1918
     Court’s review on or before September 13, 2024. The parties agree to confer prior to
2019
     bringing any attorney-client privilege, work product, or other discovery issues or disputes
2120
     to the Court.
2221
            15.    The parties propose the following case schedule:
2322
                   a.     Initial disclosures required by Fed. R. Civ. P. 26(a)(l): September 13,
2423
                          2024.
2524
                   b.     Addition of parties or amending complaint by May 1, 2025;
2625
                   c.     Discovery Completed by January 21, 2026;
2726
                          •       The parties believe that, due to the voluminous facts and the
2827
  28                      complexity of the legal issues in the case, including the significant

                                                  25
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 1
                          number of witnesses, more than 180 days will be needed for
 21
                          discovery.
 32
                   d.     Disclosure of initial expert testimony and rebuttal expert testimony
 43
                          pursuant to Fed. R. Civ. P. 26(a)(2):
 54
                          •       Disclosure of initial expert testimony: June 20, 2025
 65
                          •       Rebuttal Expert Testimony: 5 months later: November 20,
 76
                          2025
 87
                                  The parties agree rebuttal expert testimony to be completed
 98
                                  5 months after the disclosure of initial expert testimony for
10 9
                                  no more than 3 experts. In the event that either party submits
1110
                                  initial expert testimony beyond 3 experts, additional time for
1211
                                  the filing of rebuttal expert reports will be negotiated in good
1312
                                  faith by the parties.
1413
                   e.     Disclosure of witness list: 21 days prior to trial
1514
                   f.     Filing dispositive motions: 60 days after the close of discovery:
1615
                          March 23, 2026
1716
                   g.     Filing pre-trial statements: 30 days before trial
1817
                   h.     Filing of settlement status report: 21 days after the end of discovery:
1918
                          February 11, 2026
2019
             16.   Plaintiffs and Defendants each anticipate requiring evidentiary hearings,
2120
     such as a hearing to exclude unqualified expert or scientific evidence under the Daubert
2221
     standard, to be held sometime after expert reports are exchanged. Plaintiffs and Defendants
2322
     may also request evidentiary hearings concerning the admissibility of consumer complaints
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     as well as statements from other third parties under the residual exception of the hearsay
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     rule pursuant to Fed. R. Evid. 807 and of summaries prepared pursuant to Fed. R. Evid.
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     1006. Defendants also expect to request one or more evidentiary hearings regarding the
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     admissibility of evidence.
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 1
           17.   The parties anticipate being prepared for trial within 21 to 22 months of filing
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    this Report. The Plaintiffs anticipate needing 25 trial days. If the parties can agree to
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    stipulate to the authenticity of records produced by record custodians, the Plaintiffs believe
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    the estimated length of the trial can be shortened to 10 to 15 days. Each party reserves the
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    right to seek an extension of the trial date based on the progress of discovery, including the
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    cooperation of third-party witnesses.
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           18.    The Plaintiffs have requested a jury trial. Defendants object to a jury trial
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    and request the case be heard by the judge alone.
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           19.   The parties engaged in settlement discussions after the Complaint was filed
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     but were unable to reach an agreement. The parties have agreed to resume settlement
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     discussions after the Case Management Conference. The parties do not feel it would be
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     productive at this time to have a settlement conference with the Court but will keep the
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     Court informed if the Court could help in the future.
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            20.   The parties believe the case presents unusual, difficult, or complex factors
1514
     which warrant the highly technical subject matter of this case being placed on the complex
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     track for case management purposes pursuant to LRCiv 16.
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           21.     Other than what was set out in Item 17 above, the parties do not have any
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     suggestions for shortening or simplifying the case.
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